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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA


TAMMY ROBERTS,             )
                           )
      Plaintiff;           )
                           )
vs.                        )                   Case No. CIV-2017-131-M
                           )
CIMARRON MEMORIAL HOSPITAL )
                           )
and                        )
                           )
NEWLIGHT HEALTHCARE LLC    )
                           )
Defendants.                )
                JOINT STATUS REPORT AND DISCOVERY PLAN
Date of Conference:        July 6, 2017 at 2:40 p.m.

Appearing for Plaintiff:   Christine C. Vizcaino, OBA #30527
                           Christa Uhland, OBA #30934
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Appearing for Defendant: Adam Childers, OBA # 18673
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                         Attorneys for Defendant Cimarron Memorial Hospital

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                  Jury Trial Demanded  - Non-Jury Trial 
1. BRIEF PRELIMINARY STATEMENT. State briefly and in ordinary language
   the facts and positions of the parties to inform the judge of the general nature of
   the case.
   a.      Plaintiff

          Plaintiff asserts claims pursuant to the Americans with Disabilities Act as
   set forth in 42 U.S.C. §12101 et seq. (hereinafter “ADA”), for discrimination
   based upon her disability and retaliation for requesting a reasonable
   accommodation. Plaintiff also brings a state law claim for handicap discrimination
   (disability discrimination) as prohibited by the Oklahoma Anti-Discrimination Act
   (hereinafter “OADA”), see 25 O.S. §1101 et seq. Plaintiff asserts claims pursuant
   to the Genetic Information Nondiscrimination Act of 2008 for discrimination
   based upon her genetic health information.

          Plaintiff also asserts claims pursuant to the Employee Retirement Income
   Security Act of 1974 (hereinafter “ERISA”), for retaliation based upon her
   protected complaints of Defendants’ prohibited transactions and breach of
   fiduciary responsibility.

   b.      Defendant NewLight Healthcare, LLC

          Defendant denies all of Plaintiff’s allegations and further denies that
   Plaintiff is entitled to any relief whatsoever. Significantly, Defendant NewLight
   Healthcare, LLC did not employ Plaintiff. Alternatively, Plaintiff was not
   subjected to disability discrimination or retaliation during her employment at
   Cimarron Memorial Hospital, which was at all relevant times, Plaintiff’s
   employment. Further, Defendant does not have a sufficient number of employees
   to be considered an “employer” as it is defined by the Americans with Disabilities
   Act or the Genetic Information Nondiscrimination Act. Also alternatively,
   Defendant at all times met or exceed its duties, if any, that it may have had with
   respect to Plaintiff under the Americans with Disabilities Act, the Genetic
   Information Nondiscrimination Act, and the Oklahoma Anti-Discrimination Act
   (“OADA”). Any actions taken regarding Plaintiff were taken in good faith and for
   legitimate, non-discriminatory business reasons.

   c.      Defendant Cimarron Memorial Hospital

        Defendant, Cimarron Memorial Hospital (“Cimarron”) denies the claims
   made against it by the plaintiff. Plaintiff was employed with Cimarron from


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approximately 2000 until in or around July, 2016. During her employment,
plaintiff began as a Licensed Practical Nurse but eventually became a Registered
Nurse in 2014. From approximately 2014 until May, 2016 plaintiff typically
worked two shifts per week as a floor nurse and one shift per week as the Drug
Room Supervisor. However, plaintiff was not guaranteed any specific shifts, and
she was subject to being scheduled at any time, for any shift, the same as all other
employees.
        In or around 2015, plaintiff reported that she would be seeking treatment
because she discovered she had a BRCA2 genetic marker. Cimarron was fully
supportive of plaintiff’s personal decision to seek treatment, which included
surgery. Cimarron advised plaintiff that she was eligible for medical leave and
that she could use her paid time off (“PTO”) to cover the time she needed to take
off for her surgery and recovery.

        Over the course of the next several months, plaintiff took medical leave and
occasionally returned to work with light-duty restrictions. By November, 2015
plaintiff had exhausted all of her PTO and medical leave, so Cimarron allowed
other employees to donate their PTO so that the plaintiff would continue receiving
pay during her medical leave. In total, plaintiff received more than seventeen (17)
weeks of leave, all of which was paid.

       In December, 2015 and January 2016 plaintiff took intermittent medical
leave to attend various doctors’ appointments. During this time, plaintiff informed
Cimarron that she had tested positive for MRSA (staph infection), which
concerned the hospital due to the potential effects that such diagnosis could have
on patients. Accordingly, Cimarron advised the plaintiff that she could not have
patient contact until she was released by her treating physician.

        On or around January 27, 2016 plaintiff submitted a release from her
doctor’s office that purportedly permitted her to have “full patient contact.”
However, Cimarron was suspicious of the document because it appeared to be
written two different handwritings. Plaintiff denied that the note was written by
two separate people, but her doctor’s office stated that the portion of the note that
said, “No restrictions, may have full patient contact,” was not written by their
office.

       Falsification of medical records is a very serious infraction, which under
the then-current employee handbook required mandatory termination. However,
Cimarron’s CEO redrafted the employee code of conduct to allow for less serious
punishment so that plaintiff’s employment would not be immediately terminated.
In accordance with the newly-drafted policy, Cimarron suspended plaintiff without
pay for ninety (90) days for the falsified medical record.


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               During plaintiff’s suspension, Cimarron discovered that plaintiff had
       seriously violated her duties as the Drug Room Supervisor. Specifically, plaintiff
       had failed to properly dispose of expired medications, which ultimately cost
       Cimarron more than $17,000 to remedy and could have caused grave
       consequences from the Drug Enforcement Agency. Despite another serious
       infraction, Cimarron still did not terminate the plaintiff’s employment and instead
       accepted her resignation from her Drug Room Supervisor position.

              Plaintiff was scheduled to return from her suspension on April 28, 2016.
       However, she had additional surgery and her return-to-work date was not going to
       be assessed until she attended a doctor’s appointment on May 5, 2016. On April
       29, 2016 plaintiff requested to be placed on pro re nata (“PRN”) status. Plaintiff
       was offered several shifts, including a few night shifts. Plaintiff began declining
       to work many shifts until eventually she was declining to take any shifts.

               During plaintiff’s leave, her medical and other benefits continued, and
       Cimarron continued to make its portion of her premiums. However, premium
       payments cannot be made until Cimarron receives the full amount of the premium
       from the employee and the state of Oklahoma for those employees (including the
       plaintiff) whose medical premiums are subsidized. Plaintiff was never denied
       coverage under any of her benefit plans.

              Cimarron categorically denies that it discriminated against the plaintiff on
       the basis of her genetic information, any alleged disability (the existence of which
       is denied) or any other protected category. Further, Cimarron denies that it
       violated ERISA in any way.

     2. JURISDICTION. State the basis on which the jurisdiction of the Court is
        invoked and any presently known objections.

       The jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§1331 and 1343,
       42 U.S.C. § 12117(a). Plaintiff also brings pendent state law claims. This Court
       also has jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367(a).
       Defendants assert, however, that, to the extent Plaintiff has failed to exhaust her
       administrative remedies, this Court lacks subject matter jurisdiction to hear such
       claims.


3.     STIPULATED FACTS. List stipulations as to all facts that are not disputed,
       including jurisdictional facts.



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4.   CONTENTIONS AND CLAIMS FOR DAMAGES OR OTHER RELIEF
     SOUGHT.
     a.      Plaintiff:
          1. Each of the Defendants is a common employer of the Plaintiff. Plaintiff
             received her paychecks from Cimarron Memorial Hospital, however,
             Cimarron Memorial Hospital is managed and operated by NewLight
             Healthcare, Plaintiff was supervised by employees of NewLight Healthcare,
             and the termination decision for Plaintiff was made by NewLight
             Healthcare.
          2. Plaintiff worked at Cimarron Memorial Hospital from approximately
             December 2000 until July 2016.

          3. At all times while employed with Defendants, Plaintiff was qualified for the
             position she held.

          4. Plaintiff satisfactorily performed her job duties during her employment
             with Defendants.

          5. To Plaintiff’s understanding, Plaintiff’s job and/or job duties continued to
             exist after her termination.

          6. During the course of Plaintiff’s employment, Plaintiff participated in
             Defendants’ employee benefits program and has therefore been a Health
             Plan “participant” within the meaning of § 3(7) of ERISA, 29 U.S.C.
             1002(7).

          7. Around May 2015, Plaintiff tested positive for BRCA2 Cancer Mutation
             gene and was diagnosed with early onset BRCA2.

          8. Plaintiff notified Defendants of her diagnosis and her need for an
             accommodation in the form of medical leave so that she could attend
             doctor’s appointments and medical treatments, which leave was protected
             by the ADA.

          9. Plaintiff’s supervisor, Barbara Carter, attempted to discourage Plaintiff
             from having surgery; however, it was medically necessary for Plaintiff to
             do so.




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10. Shortly thereafter, Plaintiff was required to take intermittent medical leave
    in order to obtain medical testing, treatment and surgical procedures related
    to her cancer diagnosis.

11. While Plaintiff was out on medical leave, she received harassing phone
    calls from her supervisor, Barbara Carter, Director of Nursing, in which
    Ms. Carter threatened the Plaintiff that she would be fired if she did not
    obtain a medical release and return to work.

12. Plaintiff reported Ms. Carter’s behavior to Tim Beard, CEO, but no
    corrective action was taken.

13. On or about January 13, 2016 Plaintiff turned in a time off request form for
    the month of February to Ms. Carter.

14. Ms. Carter denied Plaintiff’s request for time off and advised Plaintiff that
    the reason for such denial was because the schedule had already been made
    and Plaintiff was scheduled for the night shift on February 12, 13, and 14.

15. When Plaintiff questioned Ms. Carter about being scheduled for night shifts
    when she was a day shift nurse, Ms. Carter informed Plaintiff that she and
    Mr. Beard had made the decision that Plaintiff needed to work those shifts
    because she “owed them” for being on medical leave.

16. On or about January 13, 2016, Plaintiff received a call from the hospital
    scheduled to perform her upcoming surgery on January 18, 2016. Plaintiff
    was notified that the facility was unable to obtain a prior authorization from
    her insurance company, Blue Cross Blue Shield, because her medical
    insurance premiums had not been paid since November 2015.

17. Immediately thereafter, Plaintiff confronted Mr. Beard about Defendants’
    failure to pay her insurance premiums.

18. Mr. Beard advised Plaintiff that she “needed to keep [her] mouth shut and
    not worry about it”. Mr. Beard also informed Plaintiff that he had used the
    money to pay other bills and that Defendant would pay the premiums when
    it had the money to do so.




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19. Plaintiff protested Defendants’ conduct and informed Mr. Beard of her
    belief that his behavior was illegal and of her intent to file a complaint with
    the department of labor regarding this matter.

20. As a result of Plaintiff’s surgery on January 18, 2016, she was required to
   remain off work until around January 27, 2016.

21. While Plaintiff was out on medical leave in January of 2016, she received
    notice from Aflac that the Defendants had not paid her premiums for this
    policy either.

22. After being released from her physician around January 27, 2016, Plaintiff
    returned to work on or about January 28, 2016.

23. On January 28, 2016 Plaintiff was disciplined by Mr. Beard, and placed on
    a ninety (90) day suspension without pay for allegedly submitting a false
    doctor’s release.

24. The reasons for Plaintiff’s suspension were false and pretextual in that
    Plaintiff had not submitted a false doctor’s release and despite having
    Plaintiff’s doctor’s office personally contact the Defendants to explain the
    situation and clear up any confusion, Defendants refused to rescind
    Plaintiff’s suspension.

25. On or about February 7, 2016 Plaintiff submitted a written complaint to the
    Board of Directors regarding the unlawful conduct of Mr. Beard and Ms.
    Carter, including Defendants prohibited transactions and breach of
    fiduciary responsibility.

26. In retaliation for submitting the above complaint, Ms. Carter notified
    Plaintiff that she would be moved to the night shift and only allowed to
    work two nights per week upon her return from suspension.

27. Plaintiff protested Ms. Carter’s decision, complained of retaliation, and
    requested that she be permitted to return to her previous work conditions.

28. Due to Defendants’ failure to address Plaintiff’s concerns, Plaintiff filed a
    Charge of Discrimination with the Equal Employment Opportunity
    Commission (“EEOC”) around April 24, 2016.




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     29. In retaliation for reporting Defendants’ unlawful conduct, Defendants
         began to reduce Plaintiff’s work hours and shift assignments until she was
         ultimately no longer scheduled for any shifts around July 2016.

     30. Plaintiff’s employment was effectively terminated around July 2016.

     31. Motivating factors in the decisions to suspend, demote and subsequently
         terminate the Plaintiff, were due to Plaintiff’s disability, genetic
         information and complaints of disability discrimination in violation of the
         ADA and state law, with another significant factor being retaliation for her
         protected activity in reporting Defendants’ breach of fiduciary duty and
         prohibited transactions and filing complaints in response to receiving such
         unlawful treatment. At the least, these factors were part of a group of
         mixed motives for such decision such that Plaintiff is entitled to protection
         under the mixed motive doctrine.

     32. As a result of Defendant’s actions, Plaintiff has sustained loss of
         employment, loss of career path, loss of opportunity, loss of wages, loss of
         fringe benefits, and other compensation; and consequential and
         compensatory damages including, but not limited to, those for humiliation,
         loss of dignity, loss of enjoyment of life, worry, stress, and anxiety.
b.      Defendant NewLight Healthcare, LLC:
     1. Plaintiff’s Complaint fails to state a claim upon which relief can be granted.
     2. Defendant does not have a sufficient number of employees to be considered
        an “employer” governed by the ADA and GINA and, therefore, this Court
        lacks subject matter jurisdiction as to Defendant as to all claims under these
        statutes.
     3. As to Defendant, Plaintiff has failed to exhaust her administrative remedies
        as to her claims under the ADA, OADA, and GINA by failing to file a
        charge of discrimination. Thus, this Court lacks subject matter jurisdiction
        to hear such claims.
     4. Plaintiff has failed to exhaust her administrative remedies as to any claims,
        subject to the jurisdiction of the EEOC or OCRE, which were not part of
        her EEOC Charge No. 564-2016-640. Defendant has not yet obtained
        discovery from Plaintiff (including Plaintiff’s deposition) and facts
        pertaining to Plaintiff’s exhaustion are within Plaintiff’s control and will
        become known during discovery. To the extent Plaintiff has failed to
        exhaust her administrative remedies, this Court lacks subject matter
        jurisdiction to hear such claims.



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     5. Plaintiff may have failed to mitigate her alleged damages, may have failed
        to take reasonable action to avoid damages, and may not be entitled to some
        or all of the relief demanded. Plaintiff has not yet provided Defendant with
        a calculation of alleged damages and Defendant has not yet obtained
        discovery from Plaintiff (including Plaintiff’s deposition) to determine what
        efforts Plaintiff made to find other employment. Facts pertaining to
        Plaintiff’s efforts to mitigate her damages are within Plaintiff’s control and
        will become known during discovery.
     6. Non-harassment, non-discrimination, and non-retaliation policies and
        procedures were adequately and reasonably disseminated and enforced, and
        Plaintiff’s claims are barred to the extent she failed to properly follow
        procedures for reporting alleged harassment, discrimination, or retaliation
        and/or to the extent prompt, appropriate and effective action was taken to
        prevent or correct any such behavior and/or harassment following
        notification thereof.
     7. Although Defendant did not employ Plaintiff, Defendant asserts that after
        acquired evidence limits the damages available to Plaintiff in that,
        following Plaintiff’s resignation from her employment with the hospital, it
        was learned that Plaintiff had taken medications from the hospital
        pharmacy without paying for the same. Upon information and belief, had
        this been discovered prior to Plaintiff’s resignation, Plaintiff’s employment
        would have been terminated by the hospital.
     8. Defendant made good faith efforts to comply with all of the statutes upon
        which Plaintiff bases her claims and, therefore, Defendant cannot be held
        liable for punitive damages.
     9. Plaintiff is not entitled to punitive damages, and the imposition of punitive
        damages in this action would violate the Constitution of the United States
        and/or the Constitution of the State of Oklahoma.
c.      Defendant Cimarron Memorial Hospital

     1. As ERISA, 29 U.S.C. § 1001, et seq., as amended, and its corresponding
        body of federal law applies to plaintiff’s allegations, the claims and/or
        remedies asserted by Plaintiff which are inconsistent with the exclusive
        remedies expressly provided by ERISA are preempted.

     2. Plaintiff is not entitled to a jury trial on ERISA claims.

     3. Plaintiff’s complaint fails to state a claim upon which relief can be granted.

     4. The Hospital has not engaged in any conduct that was motivated by or
        constituted discrimination against Plaintiff by virtue of her alleged
        disability – the existence of which is denied – or for any other unlawful
        reason.


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 5. The Hospital has not engaged in any conduct that was motivated by or
    constituted discrimination against Plaintiff by virtue of her genetic
    information or for any other unlawful reason.

 6. The Hospital has not engaged in any conduct that would warrant an award
    of punitive damages.

 7. Plaintiff is not a qualified individual with a disability.

 8. Each action taken by the Hospital regarding plaintiff and her employment
    was taken in good faith to comply with all federal and state laws.

 9. Plaintiff’s claims are barred in whole or in part due to a failure to exhaust
    applicable administrative remedies.

 10. Plaintiff’s claims are barred or diminished to the extent she failed to
     properly mitigate her alleged damages.

 11. Even if the Hospital was motivated by a prohibited factor (which is not the
     case) any action taken regarding plaintiff’s employment would have been
     taken even absent such motivation.

 12. The Hospital adequately and reasonably disseminated policies and
     procedures regarding non-harassment, non-retaliation and non-
     discrimination, and plaintiff’s claims are barred to the extent she failed to
     properly follow procedures for reporting alleged harassment, discrimination
     or retaliation and/or to the extent prompt, appropriate and effective action
     was taken to prevent or correct any such behavior and/or harassment
     following notification thereof.

 13. Some or all of plaintiff’s alleged damages are limited or barred due to
     evidence acquired after plaintiff’s voluntary resignation from employment.
     Specifically, the Hospital learned post separation that plaintiff had engaged
     in inappropriate and potentially illegal activities regarding the storage and
     maintenance of hospital medications from the Hospital pharmacy, causing
     the Hospital to incur expenses that it would not have otherwise incurred.
     Had this information been discovered prior to plaintiff’s resignation,
     plaintiff’s employment would have been terminated by the Hospital.

 14. The Hospital is entitled to an offset for damages, loss and/or theft created
     by the plaintiff’s willful, reckless and/or negligent conduct.



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          15. The Hospital engaged in good-faith efforts to comply with all of the statutes
              upon which plaintiff bases her claims and, therefore, the Hospital cannot be
              held liable for punitive damages.

          16. Plaintiff is not entitled to punitive damages, and the imposition of punitive
              damages in this action would violate the Constitution of the United States
              and/or the Oklahoma Constitution.

5.   APPLICABILITY OF FED. R. CIV. P. 5.1 AND COMPLIANCE.
     Do any of the claims or defenses draw into question the constitutionality of a
     federal or state statute where notice is required under 28 U.S.C. § 2403 or Fed. R.
     Civ. P. 5.1?
                     Yes No
6.   MOTIONS PENDING AND/OR ANTICIPATED (include date of filing, relief
     requested, and date responsive brief to be filed).
     A.      Plaintiff:
             1.     Plaintiff anticipates filing a Motion for Protective Order, Motions in
                    Limine and a partial Motion for Summary Judgment should the facts
                    warrant.
     B.      Defendant NewLight Healthcare, LLC:
             1.     Defendant anticipate filing a dispositive motion on or before the
                    deadlines set by the Court. Defendant also anticipates filing a motion
                    for protective order if Plaintiff seeks confidential and/or propriety
                    information in discovery.
     C.      Defendant Cimarron Memorial Hospital
             1.     Cimarron anticipates filing Motions in Limine and a Motion for
                    Summary Judgment should the facts warrant. Further, Cimarron
                    anticipates joining the plaintiff in filing a Motion for Protective
                    Order to protect certain confidential and/or proprietary information
                    of the parties and other non-parties to this suit.
7.   COMPLIANCE WITH RULE 26(a)(1). Have the initial disclosures required by
     Fed. R. Civ. P. 26(a)(1) been made?  Yes  No
     If “no,” by what date will they be made? June 30, 2017
8.   PLAN FOR DISCOVERY.




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      A.       The discovery planning conference (Fed. R. Civ. P. 26(f)) was held on May
               19, 2017.
      B.       The parties anticipate that discovery should be completed within 9 months.
      C.       In the event ADR is ordered or agreed to, what is the minimum amount of
               time necessary to complete necessary discovery prior to the ADR session?
               The parties do not currently request ADR.
      D.       Have the parties discussed issues relating to disclosure or discovery of
               electronically stored information, including the form or forms in which it
               should be produced, pursuant to Fed. R. Civ. P. 26(f)(3)(C)?
               Yes  No
      E.       Have the parties discussed issues relating to claims of privilege or of
               protection as trial-preparation material pursuant to Fed. R. Civ. P.
               26(f)(3)(D)?
               Yes  No
               To the extent the parties have made any agreements pursuant to Fed. R.
               Civ. P. 26(f)(3)(D) and Fed. R. Civ. P. 502(e) regarding a procedure to
               assert claims of privilege/protection after production and are requesting that
               the court include such agreement in an order, please set forth the agreement
               in detail below and submit a proposed order adopting the same.
               N/A
      F.       Identify any other discovery issues which should be addressed at the
               scheduling conference, including any subjects of discovery, limitations on
               discovery, protective orders needed, or other elements (Fed. R. Civ. P.
               26(f)) which should be included in a particularized discovery plan.
               None at present.
9.    ESTIMATED TRIAL TIME: 3-4 days
10.   BIFURCATION REQUESTED:  Yes No
11.   POSSIBILITY OF SETTLEMENT:                   Good         Fair         Poor
12.   SETTLEMENT AND ADR PROCEDURES:
      A.       Compliance with LCvR 16.1(a)(1) - ADR discussion: Yes            No
      B.       The parties request that this case be referred to the following ADR process:
                Court-Ordered Mediation subject to LCvR 16.3
                Judicial Settlement Conference
                Other _____________________________________________________


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             None - the parties do not request ADR at this time.
13.   Parties consent to trial by Magistrate Judge?  Yes    No
14.   Type of Scheduling Order Requested.  Standard -  Specialized (If a
      specialized scheduling order is requested, counsel should include a statement of
      reasons and proposal.)

      RESPECTFULLY SUBMITTED THIS 27th DAY OF JUNE, 2017


/s/ Christine C. Vizcaino
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